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United States Courts
Southern District of Texas
FILED

April 14, 2021
Nathan Ochsner, Clerk of Court

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION .
4:21-mj-787
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, )
)
v. ) CASENO,
} Title 18, United States Cade,
DAVIS LU, } Sections 1030(a)(5){A),
) C)A4(ADA), CEMA,
Defendant. ) and (c)(4)(B)G)
GENERAL ALLEGATIONS

At all times material herein:
l. From on or about August 4, 2019 through on or about September 5, 2019, in the
Norther District of Ohio, Eastern Division, and elsewhere, Defendant DAVIS LU accessed and

attempted to access protected computers without permission.

2. Defendant was a resident of Pittsburgh, Pennsylvania. Defendant was an
employee of Company 1 from on or about November 1, 2007 through on or about October 4,
2019.

(3. Company 1 was an Ohio corporation with its principal place of business in
Cleveland, Ohio, in the Northern District of Ohio, Eastern Division.

4, Software | was an application in use at Company | at ail times material herein
where data was maintained and which supported multipie branches of Company 1.

5. From on or about May 2017 through on or about July 2019, Defendant was

employed by Company | as a Software 1 Senior Developer and tasked to work with Emerging

Technology.
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FORFEITURE
The Grand Jury further charges:

20. For the purpose of alleging forfeiture pursuant to Title 18, United States Code,
Sections 982(a)(2)(B) and 1030(i), the allegation of Count | is incorporated herein by reference.
As a result of the foregoing offense, Defendant DAVIS LU shall forfeit to the United States any
property constituting or derived from proceeds obtained directly or indirectly as a result of the
violation charged in Count 1; and any property real or personal that was used or intended to be
used to commit or to facilitate the commission of the violation charged in Count 1.

SUBSTITUTE ASSETS
If, as a result of any act or omission of the Defendant, any property subject to forfeiture:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

°

has been placed beyond the jurisdiction of the Court;
d. . has been substantially diminished in value; or
e. has been comingled with other property which cannot be subdivided
without difficulty;
the United States intends, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any
property of Defendant up to the value of any property described above.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.

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United States v. Davis Lu

A TRUE BILL.

FOREPERSON

BRIDGET M. BRENNAN
Acting United States Attorney

By:

Robert E. Bulford
Chief, Criminal Division

